                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                                             )
UNITED STATES OF AMERICA                     )
                                             )
                v.                           )
                                             )   Criminal No.: 19-10117-IT-9
 (9)    PETER JAN “P.J.” SARTORIO,           )
                                             )
                        Defendant            )
                                             )

         GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

        The government respectfully submits this supplemental memorandum in connection with

the sentencing of defendant Peter Jan “P.J.” Sartorio.

        Sartorio, a successful entrepreneur, paid $15,000 to cheat on his daughter’s ACT exam and

fraudulently inflate her score. Sartorio took steps to conceal his fraud, paying co-conspirator

William “Rick” Singer in cash, and structuring the withdrawals of that cash from his accounts to

avoid bank reporting requirements. His daughter used the fraudulent ACT score as part of her

application to numerous universities.

        For his crime, Sartorio should be sentenced to a term of one month of incarceration – within

the advisory Guidelines range of zero to 6 months – followed by 12 months of supervised release

and a fine of $9,500.

   I.      Sartorio Exploited the Testing Accommodation
           Process To Facilitate the Cheating Scheme

        By at least the spring of 2017, Sartorio had agreed with Singer to engage in the exam

cheating scheme for Sartorio’s daughter. In May of that year, Sartorio’s wife asked Singer and

one of his employees how to obtain a testing accommodation from the ACT. The accommodation

enabled Sartorio’s daughter to take the exam at the West Hollywood Test Center Singer controlled
through a co-conspirator, Igor Dvorskiy. In May, after ACT granted the accommodation based on

Sartorio’s daughter’s legitimate need for extra time on the exam, Dvorskiy arranged for her to take

the ACT at the West Hollywood Test Center – hundreds of miles from Sartorio’s home in Menlo

Park, California – instead of at her own high school. The ACT authorized the move later that

month.

         Sartorio’s daughter took the ACT on June 10, 2017, along with two other students. She

did not use the extra time she had been allotted. After she had completed the exam, two corrupt

proctors corrected her answers and secured a score for her in the 86th percentile. Although

Sartorio’s daughter had not previously taken the ACT, she had scored between the 42nd and 51st

percentiles for her grade level in successive administrations of the PSAT.

         Sartorio paid Singer in cash, withdrawing the money in increments of between $4,000 and

$6,000 from two different accounts in three separate transactions between June 16 and June 20,

2017 – even though each of those accounts had substantial balances at the time that were sufficient

to cover the entire amount. By structuring his withdrawals as multiple transactions of less than

$10,000 each over the course of five days, Sartorio avoided bank reporting requirements. On a

subsequent call with Singer, which was consensually recorded, Sartorio explained that their

scheme had left no incriminating paper trail. He told Singer:

         There is no-- no-- there is no record on my end like a 1040. There is nothing on
         my end that shows that your company, Rick, or anybody, received any cash
         payments. Only payments they could look at would be an invoiced amount or an
         actual check. And that what w-- that was already discussed. But anything that was
         done verbally, that was verbal and there’s no record. There’s nothing. There’s
         nothing.




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   II.      Sartorio Should Be Sentenced to One Month in Prison,
            One Year of Supervised Release and a Fine of $9,500

         Sartorio’s conduct warrants a sentence of imprisonment. He cheated to help his daughter

get into college at the expense of a more qualified candidate. While standardized test scores are

only one component of the application process, they are significant, and the huge jump in

Sartorio’s daughter’s score made her a viable candidate for colleges for which she would not

otherwise have qualified for admission. Though he didn’t buy his daughter an admissions spot

directly, Sartorio – like other participants in the exam cheating scheme – bought her a test score

that he knew would give her an illicit edge over other applicants. The whole point of the scheme

was to use the fraudulent score to steal a spot from someone else.

         Like other defendants, Sartorio also exploited the testing accommodations process to

facilitate the fraud, rather than to address his daughter’s legitimate need for extra time on the exam.

         And, of course, Sartorio knew that what he was doing was wrong. He took proactive steps

to cover up his crime, paying Singer in cash so that the transaction would be untraceable, and

structuring his cash withdrawals over days, so they wouldn’t trigger bank reporting requirements.

This was not something Singer suggested to him.            It was Sartorio’s idea, an independent

contribution to the scheme, designed to make it harder to detect. As Sartorio himself explained to

Singer: “There is nothing on my end that shows that your company, Rick, or anybody, received

any cash payments. . . . There’s nothing.”

         Finally, the same considerations that supported sentences of incarceration for the other

defendants in this case, including the need for general deterrence, warrant a jail sentence here.

Crimes like this one – committed in secret and paid for in cash – are difficult to detect, and still

more difficult to prosecute. When discovered, they must have meaningful consequences. Prison




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will deter other would-be cheaters by sending an unmistakable message that buying fraudulent test

scores is a serious crime that will, if uncovered, lead to serious punishment.

                                            Conclusion
       For these reasons, the government respectfully requests that the defendant be sentenced to

a term of incarceration of one month, a fine of $9,500, and 12 months of supervised release.

                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney


                                              By:      /s/ Kristen A. Kearney
                                                      ERIC S. ROSEN
                                                      JUSTIN D. O’CONNELL
                                                      LESLIE A. WRIGHT
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                                                      Assistant United States Attorneys

Date: October 4, 2019




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